             Case 1:21-cr-00099-PLF Document 9 Filed 02/18/21 Page 1 of 1
                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                   )
                                             )
        v.                                   )      No. 21-cr-99 (PLF)
                                             )
 VAUGHN GORDON,                              )
                                             )
                      Defendant.             )
                                             )

                                 NOTICE OF APPEARANCE

        Please enter the appearance of First Assistant Federal Public Defender Michelle

Peterson on behalf of the defendant, Vaughn Gordon, in the above captioned matter.


                                            Respectfully submitted,

                                            A. J. KRAMER
                                            FEDERAL PUBLIC DEFENDER

                                                   /s/

                                            MICHELLE M. PETERSON
                                            First Assistant Federal Public Defender
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